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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                                           )
                                                             )
        Plaintiff,                                           )    Civil Action Case No. 3:19-cv-00807-M
                                                             )
v.                                                           )
                                                             )
JOHN DOE infringer using                                     )
IP address 45.30.78.146,                                     )
                                                             )
        Defendant.                                           )
                                                             )

APPENDIX TO PLAINTIFF’S MOTION FOR LEAVE TO TAKE DISCOVERY PRIOR
TO A RULE 26(f) CONFERENCE AND ITS ACCOMPANYING MEMORANDUM OF
                      POINTS AND AUTHORITIES

         Pursuant to Local Rule 7.1, Malibu Media, LLC, in support of its Motion for Leave and

its accompanying Memorandum of Points and Authorities, submits the following declarations:

         Exhibit A: Declaration of Colette Pelissier ...................................................... 2

         Exhibit B: Declaration of Patrick Paige ........................................................... 9

         Exhibit C: Declaration of Tobias Fieser ......................................................... 20

                                                                  Respectfully submitted,


                                                                  By: /s/ Paul S. Beik
                                                                  Paul S. Beik
                                                                  Texas Bar No. 24054444
                                                                  BEIK LAW FIRM, PLLC
                                                                  8100 Washington Ave., Suite 1000
                                                                  Houston, TX 77007
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                                                                  E-mail: paul@beiklaw.com
                                                                  ATTORNEY FOR PLAINTIFF




APPENDIX
                                                                                                                 Page 1
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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                           )
                                             )
        Plaintiff,                           )   Civil Action Case No. 3:19-cv-00807-M
                                             )
v.                                           )
                                             )
JOHN DOE infringer using                     )
IP address 45.30.78.146,                     )
                                             )
        Defendant.                           )
                                             )


DECLARATION OF COLETTE PELISSIER IN SUPPORT OF PLAINTIFF’S MOTION
  FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE



                       [Remainder of page intentionally left blank]




                                       Exhibit A
                                                                                  Page 2
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     DECLARATION OF COLETTE PELISSIER IN SUPPORT OF
   PLAINTIFF'S MOTION FOR LEAVE TO SERVE A THIRD PARTY
        SUBPOENA PRIOR TO A RULE 26{0 CONFERENCE
     I, COLETTE PELISSIER, DO HEREBY DECLARE:

    I .I am over the age of eighteen (18) and otherwise competent to make this

declaration.

    2.The facts stated in this declaration .are based upon my personal knowledge

and, if called upon to do so, I will testify that the facts stated herein are true and

accurate.

    3.I own Malibu M.edia d/b/a as X-Art.com. No other person or entity has or

can claim an ownership interest in the X-Art.com n1ovie copyrights.

    4.I developed the X-Art.com business plan in 2010 while still working full

time as a realtor in the Los Angeles market.            X-Art.com was created to

address the lack of artistically produced adult oriented content suitable for upscale

women and couples.

    5.I invested significant time, along with all of my available financial

resources, into the production of content for the new X-Art.com website. I knew

that the adult content industry was in financial crisis, and the odds of success for a

new adult website were low.




                                          1

                                                 Exhibit A                      Page 3
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    6.After a difficult start, and with much effort, I was able to perfect the X-Art

genre thus propelling the X-Art.com website into one of the top websites of its

kind worldwide.

    7.X-Art.com customers can pay a monthly recurnng subscription fee of

$29.95, or an annual subscription fee of $99.95 to access our entire library of HD

Video content.

    8.Internet subscription sales are and have always been by far X-Art.com's

primary source of revenue, however, recent additional revenue streams have been

created through the licensing of X-Art content to Fortune 500 companies

operating within the hospitality industry.

    9.As X-Art's subscriber base has grown, our production expenditures have

also grown. We spend over two million dollars a year producing content, and

millions more each year to run our business.

    IO.For the first several years of operation, X-Art did not have significant

issues with piracy. However, once our content became well known and highly

desirable, X-Art movies started ranking as the most downloaded adult content on

several of the most popular torrent websites.

    11.Currently we have tens of thousands of paying subscribers, but we are

fmding it hard to grow and maintain our subscriber base as so many of our

movies are distributed for free, without authorization, by users of the Bittorrent


                                         2

                                                                              Page 4
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 Network. X-Art must protect its copyrights in order to survive and for any hope

 for future revenue growth.

     12. The only redress against Bittorrent based piracy is to initiate lawsuits

 against the Bittorrent users responsible for these unauthorized distributions.

     13.These lawsuits must be filed as "John Doe 11 lawsuits because the identity

 of the infringer is initially unknown to us. From my experience filing similar

 cases against other defendants throughout the country, once provided with the IP

 Address, plus the date and time of the detected and documented infringing

 activity, ISPs can use their subscriber logs to identify the naine, address, email

 address and phone number of the applicable subscriber in control of that IP

 address at the stipulated date and time.

     14.The proper forum for these lawsuits is determined by using Maxmind

 Premium Geolocation services. Founded in 2002, Max.mind's website cites it as

 an industry-leading provider of geolocation databases 1. It is also used by state

 a11d federal law enforcement in the prosecution of computer and cybercrimes.

     15.Since January 2013, Malibu Media has used this geolocation procedure to

 determine the proper District for filing in 5,349 cases.    Out of these 5,349 total

 cases, 5,334 have accurately traced to the District Court in which the case was

 filed.   This translates to a 99.99% chance of proper personal jurisdiction and

 venue pursuant to the Maxmind Geolocation trace.

1 www.maxmind.com

                                            3


                                                                                  Page 5
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    16.Over the past several years, Malibu Media has employed two experts to

track and scan the infringement of its movies - Excipio GmbH ("Excipio") and

IPP International U.G. ("IPP").

    17.Investigators from both companies have testified in court and have attested

to the reliability of the applicable forensic technology. Malibu Media has also

independently tested each system to ensure the highest level of accuracy.

    18.Each recorded infringement enumerated on Exhibit A to the Complaint in

this lawsuit was documented by either IPP or Excipio.           In many instances,

infringing transactions were documented by both entities. Each Single Movie

Hash on Exhibit A was fully downloaded and compared side by side to a control

copy supplied to the applicable investigator by Malibu Media.

    19.Malibu Media's intention in bringing these lawsuits 1s not to cause

financial hardship but instead to deter infringement and be compensated for the

intentional theft of its videos.

    20. I have consistently instructed all attorneys representing Malibu Media in

these lawsuits to seek and be open to exculpatory evidence and to be cautiously

prudent when pursuing these claims.         We do not pursue our claims against all

Doe Defendants. For example, once receiving discovery, we may learn that a

Defendant is on active duty in the military and we will dismiss that case. Also,

we may learn a Defendant is possibly a coffee shop with open wireless, or some

other circumstance that would prevent us from pursuing our claims. When
                                        4

                                                                            Page 6
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discovery indicates that pursuing the case will present for undue hardship for the

Defendant, my instructions to my lawyers are to dismiss the case.

    21. We invest significant resources into pursuing all types of anti-piracy

enforce1nent, such as Digital Millennium Copyright Act ("DMCA") takedown

notices and direct efforts aimed at infringing websites. We are even working with

law enforcement to stop the piracy of our movies.

    22.Despite sending thousands of DMCA notices per week, the infringement

continues. And, if one searches for "X-Art" on a torrent website, the site will

reveal thousands of unauthorized torrents available for free.

    23.1 have never authorized anyone to put our works on a torrent website.

    24.I firmly believe that we must exercise our rights under the Copyright Act

to prevent infringement. Otherwise, we face an immediate and serious risk. It is

simply impossible to compete with free.

    25. We do not seek to use the Court system to profit from the infringement like

some have suggested. As previously stated, revenues from subscriptions to X­

Art.com are by far and away the dominant driver of Malibu Media's

business. We want the infringement to stop. The purpose of these lawsuits is to

motivate people to pay for subscriptions by deterring infringement and seek some

reasonable compensation for the massive amount of infringement of our
copyrights.


                                         5


                                                                               Page 7
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     26.It is my hope that by upholding the law, the courts will protect our ability

 to continue with our dream and allow all creative people the ability to make a

 living by distributing their work in this fast-paced digital age.

     27.In conclusion, we want the com1s to know that we are a small business and

 we need the law to be enforced to ensure our survival. It is getting more difficult

 for us every day and we hope that in the future there will be a better way to

 protect our copyrights.

     28. Thank you in advance for your time and consideration of this matter,

 please do not hesitate to ask if we can clarify any further questions.



                                  DECLARATION

      PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of

perjury under the laws of the United States of America that the foregoing is true

and correct.




                                        By:

                                                        COLETTE PELISSIER




                                           6


                                                                             Page 8
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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                           )
                                             )
        Plaintiff,                           )   Civil Action Case No. 3:19-cv-00807-M
                                             )
v.                                           )
                                             )
JOHN DOE infringer using                     )
IP address 45.30.78.146,                     )
                                             )
        Defendant.                           )
                                             )


DECLARATION OF PATRICK PAIGE IN SUPPORT OF PLAINTIFF’S MOTION FOR
    LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE



                       [Remainder of page intentionally left blank]




                                       Exhibit B

                                                                                  Page 9
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                                              Computer Forensics, LLC
                                              1880 N. Congress Ave Suite 33 3
                                              Boynton Beach, FL 33426
                                              Main: 561.404.3074
                                              www.ComputerForensicsLLC.com




     EXPERT REPORT REGARDING TESTING OF IPP INTERNATIONAL UG'S
                 INFRINGEMENT DETECTION SYSTEM




Prepared By:     Patrick Paige, EnCE SCERS
                 Managing Member
                 Computer Forensics, LLC




                                       1

                                                                Exhibit B10
                                                                     Page
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                           DECLARATION OF PATRICK PAIGE

       I, PATRICK PAIGE, DO HEREBY DECLARE:

       1.     I am over the age of eighteen (18) and otherwise competent to make this

declaration. The facts stated in this declaration are based upon my personal knowledge.

       2.     I was a police officer from 1989 until 2011 for the Palm Beach County Sherriff's

Office. And, from 2000-2011, I was a detective in the Computer Crimes Unit. After leaving the

Palm Beach County Sherriff's Office, I founded Computer Forensics, LLC, where I am currently

employed.

       3.     I have taken over 400 hours of courses designed to teach people how to conduct

computer forensic examinations.

       4.      Also, while working from 2003-2011 for Guidance Software, the makers of

EnCase, I taught over 375 hours of courses in computer forensics ranging from beginner to

advanced levels.

       5.      As a computer crimes detective for the Palm Beach County Sheriff's Office, I

have conducted forensic computer examinations for:

               (a)    Broward County Sheriff's Office (BSO);

               (b)    Federal Bureau of Investigation (FBI);

               (c)    U.S. Customs and Border Protection (CBP);

               (d)    Florida Department of Law Enforcement (FDLE);

               (e)    U.S. Secret Service;

               (f)    Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF); and

               (g)    Various municipalities in the jurisdiction of Palm Beach County.




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       6.      I have had students in my courses from various government branches, including:

(a) sheriff's offices; (b) FBI agents; (c) ATF agents; (d) agents from the Central Intelligence

Agency; and (e) individuals from other branches of government and the private sector.

       7.      I have received the following awards and commendations:

               (a)    1991 - Deputy of the Year, awarded by the 100 Men's Club of Boca
                      Raton & Rotary Club.

               (b)     1997-Deputy of the Month for June.

               (c)     2001 - Detective of the Month for October.

               (d)    2002 -Outstanding Law Enforcement Officer of the Year, awarded by the
                      United States Justice Department for work in the US. vs. Jerrold Levy
                      case.

               (e)    2003 - U.S. Customs Service Unit Commendation Citation Award for
                      computer forensic work in Operation Hamlet. Operation Hamlet was one
                      of the largest rings in the history of U.S. Customs of individuals who were
                      molesting their own children, and transmitting the images and video via
                      the Internet.

               (f)     2005 -Detective of the Month for December.

               (g)     2006 - Letter of Commendation issued by the FBI for outstanding
                       computer forensic work in the US. vs. Frank Grasso case.

               (h)     2007 - Outstanding Law Enforcement Officer of the Year, awarded by the
                       United States Justice Department for work in the US. vs. Jimmy Oliver
                       case.

       8.      I have testified as a fact and expert witness on numerous occasions in the field of

computer forensics in both trial-level and appellate proceedings before state, federal, and military

courts in California, Florida, Indiana, New Jersey, New York, and Pennsylvania.

       9.      No court has ever refused to accept my testimony on the basis that I was not an

expert in computer forensics. My skill set and my reputation are my most important assets in my

current position with Computer Forensics, LLC.


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       10.     As part of my duties within the Computer Crimes Unit at the Palm Beach County

Sherriff' s Office, I investigated cases involving the use of the Internet, including cases involving

peer-to-peer file sharing networks. In this role, I also investigated Internet child pornography

and computer crime cases.

       11.     I was assigned to the Computer Crimes Unit that worked in conjunction with a

private company called TLO Corp.

       12.     When I worked with TLO Corp., I supervised the other detectives assigned to the

unit, which consisted of six online investigators and two computer forensic examiners.

       13.     In my experience, during the initial phase of Internet based investigations, the

offender is only known to law enforcement by an IP address.

        14.    The only entity able to correlate an IP address to a specific individual at a given

date and time is the Internet Service Provider ("ISP").

        15.    Once provided with the IP Address, plus the date and time of the detected and

documented activity, ISP's can use their subscriber logs to identify the name, address, email

address and phone number of the applicable subscriber in control of that IP address at the

stipulated date and time.

        16.    With regard to my experience investigating child pornography cases, I supervised

police officers whose responsibility it was to establish a successful TCP/IP connection with

persons who were sending pornographic images of children or other illegal content over the

Internet using peer-to-peer file sharing programs.

        17.    The offenders' IP addresses, as well as the dates and times of the illegal
transmission were recorded.




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        18.        An officer would then request that the assistant state attorney subpoena the

corresponding ISPs for the purpose of identifying the subscribers that were transmitting the

illegal content.

        19.        In these cases, the subscribers were not notified by the ISPs that their identity was

being subpoenaed because they could have deleted the images and destroyed the data.

        20.        After receiving the subscribers' identities, we would prepare a search warrant that

would authorize us to enter the subscribers' dwelling and seize all of their computer devices.

        21.        I was directly involved in approximately 200 search warrants either by way of

managing the process or performing it personally while at the Computer Crimes Unit.

        22.        From my experience, Plaintiff is likely to identify the infringer. Indeed, during

my time in the Computer Crimes Unit, I can recall only one instance in all the times that we

executed a search warrant and seized computers, where we did not find the alleged illegal

activity at the dwelling identified in the search warrant.

        23.        In that one instance, the Wi-Fi connection was not password protected, and the

offender was a neighbor behind the residence.

        24.        I never came across a Wi-Fi hacker situation.

        25.        In my opinion, a child pornographer has a greater incentive to hack someone's

Wi-Fi connection than a BitTorrent user because transmission of child pornography is a very

serious crime with heavy criminal penalties, and many offenders can face life sentences if

convicted.

        26.        The process used by law enforcement mirrors the process used by Malibu Media
and IPP to correlate an IP address to an individual.




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                                                                                              Page 14
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        27.      In order to ascertain the identity of the infringer, just as with law enforcement,

Malibu Media must subpoena the ISP to learn the subscriber's true identity.

        28.      I tested IPP International U.G. 's ("IPP") infringement detection system. The

infringement detection system is named "Observer." It is owned and used by IPP to identify

individuals who are illegally downloading and distributing content via BitTorrent.                             This

technology and similar investigative methods are used by law enforcement officials when

tracking individuals who transmit contraband files such as child pornography via the Internet.

        29.       I tested IPP's infringement detection system for its accuracy in detecting and

recording infringement via BitTorrent, ascertaining an infringing IP address 1 , and identifying the

"test" files being distributed on BitTorrent.

        30.       To conduct this test, I first downloaded four public domain movies from the

national archive.

        31.       I then encoded text into each video. The purpose of this encoding was to ensure

that when the file is located and download by IPP, it could be easily identified as the videos I

personally encoded and seeded.

         32.      I then setup and configured four computers, each of which was connected to the

Internet and each computer was configured with its own unique static IP address.

         33.      I then configured three computers with a Windows 7 operating system, and the

fourth computer was a MacBook Pro configured with OS X El Capitan version 10.11.4. I

installed a different BitTorrent client2 onto each computer system as listed below:




' An IP address is a numerical value assigned to a computer or device that transmits and receives data via the
Internet. When a computer user accesses the Internet, their Internet Service Provider assigns them a unique IP
address for that session. In order to identify a computer user who is downloading files via the Internet, one must be
able to identify the IP address the user was using at that exact time and date of downloading.
2 A BitTorrent client is software that enables the BitTorrent protocol to work.

                                                           6


                                                                                                         Page 15
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              Comnuter              Oneratine- Svstem               BitTorrent Client
         Dell Laptop              Windows 7                    uTorrent Version 3.4.7
         Dell Laptop              Windows 7                    qBittorrent Version 3.3.4
         Dell Laptop              Windows 7                    Transmission Version 2.84
         MacBook Pro Laotoo       OS X El Capitan 10.11.4      uTorrent Version 1.8.7


         34.   After installing the BitTorrent clients, I also installed Wireshark and WinDump

onto each computer. Wireshark and WinDump are programs that capture network traffic and

create PCAP files. PCAP stands for "packet capture." PCAPs are akin to videotapes. Indeed, a

PCAP is like a video recording of all the incoming and outgoing transactions of a computer. I

have used Wireshark and WinDump software while in law enforcement to examine network

traffic while investigating P2P cases.

         35.   After installing Wireshark and WinDump onto each of the computers, I

transferred the movie files that I created for the test to each of the four computers.

         36.   I then used one of the BitTorrent clients on the test computers to make .torrent

files. I then seeded the four test movies.

         37.   On June 3, 2016 the test was conducted. Given only the torrent files, IPP was

able to correctly identify all four static IP addresses for each of the test computers that were

seeding the movies within minutes of starting the test. Soon after the test, IPP sent me the PCAP

files they recorded during the test for each one of my static IP addresses.

         38.   I reviewed IPP's PCAPs vis-a-vis the PCAP log files created by each of my test

computers, and determined that IPP's PCAPs match my PCAPs. This could not have happened

unless IPP's server was connected to the test computers because the transactions would not
match.

         39.   I also conducted an examination of IPP's PCAPs to determine if the detection

software can accurately identify the BitTorrent clients I used during the test. Using Wireshark

                                                  7


                                                                                         Page 16
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software I loaded IPP's PCAPs recorded on the day of the test. IPP's system was able to

accurately record the names and version numbers of all four BitTorrent client's software I used

on each of the test computers.

       40.     When a BitTorrent client is installed onto a computer, the computer randomly

selects a port number for its network communication. A port number is an integer ranging from

0 to 65535. The following is a chart listing the port number assigned to each of the test

computers:

                      Comnuter                BitTorrent Client          Port
                Dell Laptop               uTorrent Version 3.4.7       51892
                Dell Laotoo               qBittorrent Version 3.3.4    8999
                Dell Laotop               Transmission Version 2.84    51413
                MacBook Pro Laptop        uTorrent Version 1.8.7       10088


       41.     Examination of IPP's PCAP revealed that the port numbers recorded by IPP's

system matched the port numbers from the test computers used for BitTorrent communications.

Accordingly, my analysis confirmed that IPP was able to accurately identify the port number

assigned to each test computer's BitTorrent client.

       42.     From this test, I concluded that IPP's infringement detection system worked, and

had a subpoena been issued for my IP addresses, it would have revealed my identity. I also

concluded that IPP's infringement detection system accurately identifies the BitTorrent clients as

well as the BitTorrent client's port number.

       43.     In the past, Malibu has also retained Excipio GrnbH's ("Excipio") to track

infringement of Malibu's copyrighted works. In June 2013, in anticipation of the Bellwether

trial in the Eastern District of Pennsylvania, I conducted a test of Excipio's infringement

detection system. After performing the test, I concluded that Excipio's infringement detection

system works. Specifically, the system accurately records the IP address of a person using

                                                 8


                                                                                        Page 17
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BitTorrent to transmit data to Excipio's computer servers. Excipio's system operates nearly the

same fashion as IPP' s system.

       44.      In addition to testing Malibu's investigators' systems, I have also conducted

computer forensic examinations for Malibu in their copyright infringement cases throughout the

country.

       45.         Indeed, in my role as an expert for Plaintiff, I have examined countless computer

hard drives for evidence of: (a) the use of BitTorrent; (b) infringement of the copyrighted "X­

Art" works owned by Plaintiff; (c) spoliation of evidence; and (d) suppression of evidence.

These examinations have revealed either: (1) evidence of copyright infringement of Malibu

Media, LLC's works; or (2) evidence of suppression and spoliation. Sometimes I have found

both. By way of illustration, below are examples where Malibu obtained a Defendant's hard

drive and discovered evidence of its movies, spoliation, and/or defendants' failures to disclose

all hard drives.

             a. Malibu Media, LLC v. Weaver, No. 8:14-cv-01580-VMC-TBM (M.D. Fla. 2015):
                In Weaver, the Court ordered production of the hard drives, and my forensic
                examination revealed evidence which irrefutably demonstrated: (a) Defendant's
                BitTorrent use; (b) the prior existence of numerous X-Art titles; (c) the deletion of
                BitTorrent files and uninstallation of a BitTorrent client; and (d) the existence of
                other computer devices that have not been produced. Because of this examination,
                Malibu was able to successfully disprove Defendant's denial of infringement.

             b. Malibu Media, LLC v. Huseman, No. I: 13-cv-02695-WYD-MEH (D. Colo.
                2014): In the Huseman case, I discovered evidence of: (a) BitTorrent use; (b) the
                prior existence of numerous X-Art titles; (c) the deletion of BitTorrent files and
                uninstallation of a BitTorrent client; and (d) the existence of other computer
                devices that had not been produced to me for examination, one of which
                contained titles of Plaintiff's copyrighted works. Ultimately, the parties stipulated
                to a final judgment in favor of Malibu Media, LLC.

             c. Malibu Media, LLC v. John Doe, No. 1:14-cv-10155-KBF (S.D.N.Y. 2015): My
                forensic examination revealed that defendant had over eleven different file
                destruction software programs on his hard drive - each with the capability of
                destroying substantial amounts of data. He used several of the software programs

                                                   9


                                                                                           Page 18
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                just days before turning it over for imaging and examination. I also detected that
                prior to defendant's use of the file destruction software, the defendant connected
                another undisclosed external storage device to his hard drive. This suggested that
                defendant was storing data which he wanted to retain prior to using the file
                destruction software programs on his hard drive. Ultimately, the defendant
                admitted to his infringement and apologized to Malibu.

             d. Malibu Media, LLC v. Tashiro, No. 1:13-cv-00205-WTL-MJD (S.D. Ind. 2014):
                My examination revealed that defendants deleted thousands ofBitTorrent files the
                night before producing the hard drives for imaging. My examination also revealed
                that defendants possessed and used other hard drives which were never disclosed
                or produced during discovery. Ultimately, the court imposed terminating
                sanctions against defendants for failure to disclose documents, spoliation, and
                perjury.

             e. Malibu Media, LLC v. John Doe, No. 12-2078 (E.D. Pa. 2013): In this
                "Bellwether" case, my examination of defendant's hard drive revealed that he
                installed a Windows operating system three (3) days after being served with a
                subpoena for production of his computer device. This installation resulted in the
                complete destruction of all files contained within the hard drive prior to the
                Windows installation. After falsely testifying, Defendant admitted that he had
                downloaded Plaintiff's copyrighted works and had wiped his desktop computer
                (by installing a new Windows operating system) to conceal the infringements. In
                the end, the Court entered a substantial judgment in favor of Malibu.

       46.      I am paid on an hourly basis by Malibu Media, LLC, at the rate of $325.00 per

hour for pre-trial investigative work, although the fee increases if I am required to testify at trial.

        FURTHER DECLARANT SAYETH NAUGHT.

                                              DECLARATION

        PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the

foregoing is true and correct.

        Executed on this 19th day of August, 2016.




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                                                                                              Page 19
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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                            )
                                              )
         Plaintiff,                           )   Civil Action Case No. 3:19-cv-00807-M
                                              )
v.                                            )
                                              )
JOHN DOE infringer using                      )
IP address 45.30.78.146,                      )
                                              )
         Defendant.                           )
                                              )


DECLARATION OF TOBIAS FIESER IN SUPPORT OF PLAINTIFF’S MOTION FOR
    LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE



                        [Remainder of page intentionally left blank]




                                        Exhibit C

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